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                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA




                                           ]
UNITED STATES OF AMERICA                   ]
                                           ]                 CASE NO. 2021-MJ-293 (02)
       v.                                  ]
                                           ]
STEPHANIE MILLER                           ]                 ZMF
                                           ]




                 NOTICE OF APPEARANCE FOR DEFENDANT STEPHANIE MILLER




       Please note the appearance of undersigned counsel, Joanne Slaight, for defendant

Stephanie Miller, appointed under the Criminal Justice Act, nunc pro tunc to March 17, 2021.




                                           Respectfully submitted,



                                                       /s/

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